Case 08-51286 Doc 29 Filed 06/05/13 Page 1 of 2

UNI'I`ED STATES BANKRUPTCY COURT
MJDDLE DIS TRICT O§" NORTH CAROLINA

WINSTON SALEM DIVISION
IN RE: - CASE NO. 08~51286
CHAPTER 113
RAIMOND B HALL
TER.RY B HALL JUDGE THOMAS W. WALDRBP JR.
DEBTORS NOTICE OF F}NAL CURE PAYM]§NT

PuIsuant to Federal Rule of Bankruptcy Proeedure3002. l(t), the Chapter 13 Tmstee, KA".I_`HRYN L.
BR_`{NGLE tiles this Notice of Pinal C\n'e Payment. The amount required to cure the default in the claim
listed below has been paid in full.

Name of Creditoz°: GREEN TREB SERVIC[NG LLC

 

Final Cure Amount

 

Court Aecount Claim Ciaim Amount

C§aim # §um!)er Asserted Ailowed Paid
02§1 $1,316.28 $1,3§6.28 $1,316.28

'l`otal Amount Paid by Trustee $1,3 16.28

 

Monthly Ongoing Mortgage Payment
Mortge.ge is Paid:

m___ Through the Chapter 13 Conduit m)”(___ D§rect by the Debtors

 

Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST tile and serve a
Stateznent as a supplement to the holder’s proof of claim on the Debtors, Debtors' Connsel and the
Cha;)ter 13 '“.E`mstee, pursuant to Fed.R.Banl<.P.?)O€}Z.l(g), indicating 1) Whether it agrees that the Debtors
have paid in full the amount required to cure the default on t’ne claim; andZ) whether the De`otors are
otherwise current on all payments consistent with 1 1 U.S.C. § l322(b)(5).

'I`he statement shell itemize the required cure or post-petition amounts, if any, that the holder contends

remain unpaid as of the date of the statement The statement Shall be erd as a supplement to the
holder’s proof ot` claim and is not subject to Rnle 300 l(t). Faifure to notify may result in sanctions

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Case 08-51286 Doc 29 Filed 06/05/13 Page 2 of 2

CASE NO. 08~51286

CER'I`IFICATE OF SERV"ICE

l hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the parties
listed below by ordinary U.S. Mail or served electronically through the Court’s ECF System at the e-mail
address registered with the Court on this Sth day of lune, 2013.

RAIMOND B HALL, TERRY B HALL, 160-7 KINDER RD, WB\FSTON SALEM, NC 27107

ELECTRONIC SERVICE ~ JOHN A MEADOWS, SUITE C, 2596 REYNOLDA RD,
WUSTON~SALEM, NC 27106

GREEN TREE SERVICING LLC, P O BOX 6154, RAPID CITY, SD 57709

Date: lone 05, 2013 /s/ KATHRYN L. BR].NGLE
KATHRYN L. BRINGLE
Chapter 13 Trustee
P 0 BOX 2115
WlNSTON-SALEM, NC 271.02~2115

 

